          CASE 0:22-cr-00211-WMW-DTS Doc. 14 Filed 08/31/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


United States of America,                               Case No. 22-cr-211 (WMW/DTS)

         Plaintiff,
                                                        SCHEDULING ORDER AND
v.                                                      NOTICE OF ARRAIGNMENT

Tyrone Mashaun White (1),

         Defendant.


         PLEASE TAKE NOTICE that an arraignment hearing will be held before the

undersigned United States Magistrate Judge on October 18, 2022 at 1:00 p.m., in

Courtroom 9E, U.S. Courthouse, 300 South Fourth Street, Minneapolis, Minnesota.

         IT IS HEREBY ORDERED:

         1.      The Government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by September 7, 2022. D. Minn. LR 12.1(a)(1). In order to avoid

the need for a recess of the motions hearing, the Government is requested to make by

September 7, 2022, all disclosures which will be required by Fed. R. Crim. P. 26.2 and

12(h).

         2.      As required by rule 5(f) of the Rules of Criminal Procedure, the United

States is ordered to disclose all exculpatory evidence to the defendant as required by

Brady v. Maryland and its progeny. Failure to do so in a timely manner may result in

sanctions, including exclusion of evidence, adverse jury instructions, dismissal of

charges, contempt proceedings, disciplinary action, or sanctions by the Court.

         3.      Defendant must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by September 14, 2022. D. Minn. LR 12.1(a)(2).
        CASE 0:22-cr-00211-WMW-DTS Doc. 14 Filed 08/31/22 Page 2 of 3




       4.     All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before September 21,

2022.1 D. Minn. LR 12.1(c)(1).

       5.     Counsel must electronically file a letter on or before September 21, 2022,

if no motions will be filed and there is no need for a motions hearing.

       6.     All responses to motions must be filed by October 5, 2022. D. Minn.

LR 12.1(c)(2).

       7.     Any Notice of Intent to Call Witnesses2 must be filed by October 5, 2022.

D. Minn. LR 12.1(c)(3)(A).

       8.     Any Responsive Notice of Intent to Call Witnesses3 must be filed by

October 11, 2022. D. Minn. LR 12.1(c)(3)(B).

       9.     A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

              a.     The Government makes timely disclosures and defendant identifies
                     in the motions particularized matters for which an evidentiary hearing
                     is necessary; or

              b.     Oral argument is requested by either party in its motion, objection or
                     response pleadings.


1  “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer with
the responding party. The parties must attempt in good faith to clarify and narrow the
issues in dispute.” D. Minn. LR 12.1(b).
2 “When a party intends to call witnesses at a hearing on a motion under Fed. R. Crim.

P. 12(b), the party must file a notice within 35 days after the arraignment. The notice must
identify the number of witnesses whom the party intends to call, the motion or motions
that each witness will be addressing, and the estimated duration of each witness’s
testimony.” D. Minn. LR 12.1(c)(3)(A).
3 “If after reviewing a notice under LR 12(c)(3), a party intends to call witnesses at the

same hearing, that party must file a responsive notice within 38 days after the
arraignment. The responsive party must identify the number of witnesses whom the party
intends to call, the motion or motions each witness will be addressing, and the estimated
duration of each witness’s testimony.” D. Minn. LR 12.1(c)(3)(B).
        CASE 0:22-cr-00211-WMW-DTS Doc. 14 Filed 08/31/22 Page 3 of 3




       10.    If required, the motions hearing will be heard before Magistrate Judge David

T. Schultz on October 18, 2022 at 1:00 pm in Courtroom 9E, U.S. Courthouse, 300

South Fourth Street, Minneapolis, Minnesota. D. Minn. LR 12.1(d).

       11.    TRIAL:

              a.      If no pretrial motions are filed by defendant, the following trial and

trial-related dates are:

        All motions in limine and proposed voir dire and jury instructions are due in District
        Judge Wilhelmina Wright’s chambers at least 21 days before the trial date.
        Counsel are advised that a pretrial notice will issue that will include additional
        deadlines.

        This case shall commence trial on November 7, 2022 at 9:00 a.m. before District
        Judge Wilhelmina M. Wright in Courtroom 7A, Warren E. Burger Federal Building
        and U.S. Courthouse, 316 North Robert Street, Saint Paul, Minnesota.

              b.      If pretrial motions are filed, the trial date, and other related dates,

will be rescheduled following the ruling on pretrial motions. Counsel must contact the

Courtroom Deputy for District Judge Wilhelmina M. Wright to confirm the new trial date.


Dated: August 31, 2022                                   ___s/David T. Schultz___
                                                         David T. Schultz
                                                         United States Magistrate Judge
